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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NOVELPOINT SECURITY LLC,

                            Plaintiff,               Case No. 2:12-cv-133
v.
                                                     PATENT CASE
XPLORE TECHNOLOGIES CORP.,
                                                     JURY TRIAL DEMANDED
                             Defendant.

                         AGREED MOTION TO DISMISS WITH
                       PREJUDICE, PURSUANT TO SETTLEMENT

       Pursuant to Fed. R. Civ. P. 41 and pursuant to a settlement agreement between the

parties, Plaintiff NovelPoint Security LLC (“NovelPoint”) hereby moves to dismiss with

prejudice NovelPoint’s claims against Defendant Xplore Technologies Corp. in this case, with

each party to bear its own costs, expenses and attorneys’ fees.



Dated: June 20, 2012                         Respectfully submitted,


                                              _/s/ Craig Tadlock         ______
                                             Craig Tadlock
                                             State Bar No. 00791766
                                             Keith Smiley
                                             State Bar No. 24067869
                                             TADLOCK LAW FIRM PLLC
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                                             Attorneys for Plaintiff NovelPoint Security LLC
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                            CERTIFICATE OF CONFERENCE

        I hereby certify that on June 19, 2012, I conferred by email with outside counsel for
Defendant Xplore Technologies Corp., Jonathan J. Russo of Pillsbury Winthrop Shaw Pittman
LLP, 1540 Broadway, New York, NY 10036, phone 212-858-1528. Counsel for Xplore
Technologies Corp. and I agreed to the form and substance of this motion and all relief requested
therein. Accordingly, this motion is an agreed motion.


                                            /s/ Craig Tadlock
                                            Craig Tadlock




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 20th day of June, 2012, the foregoing
document was filed electronically in compliance with Local Rule CV-5(a). As such, this
document was served on all counsel who have consented to electronic service. Local Rule CV-
5(a)(3)(A).

                                            /s/ Craig Tadlock
                                            Craig Tadlock




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